       Case 3:15-cr-00880-DMS                Document 88           Filed 09/24/15            PageID.361        Page 1 of 4
AO 245B (CASDRev. 08/13) Judgment in a Criminal Case                                                             FILED
                                                                                                                 SEP 2 4 201~j
                                  UNITED STATES DISTRICT COURT
                                                                                                            ctflfKus6isTRICT COURT
                                        SOUTHERN DISTRICT OF CALIFORNIA                                  SOUTHERN DISTHICT OF CALIFORNIA
                                                                                                         BY       7)f            DEPUTY
             UNITED STATES OF AMERICA                               JUDGMENT IN A CRIM °N"'A:rCASC-'-'-_o_-,---
                        V.                                          (For Offenses Committed On or After November 1, 1987)
                ZACHARY CACHUPE (I)
                                                                       Case Number:         15CR0880-DMS

                                                                    Barbara M Donovan CJA
                                                                    Defendant's Attorney
REGISTRATION NO.               49470298
D -
THE DEFENDANT:
~ pleaded guilty to count(s)        1 of the Information

D was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                      Connt
Title & Section                  Nature of Offense                                                                  Numberfs)
18 USC 1594c                     CONSPIRACY TO COMMIT SEX TRAFFICKING OF                                                I
                                 CHILDREN




    The defendant is sentenced as provided in pages 2 through                 4            of this judgment
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
D Count(s)
               ---------------------- is                                  dismissed on the motion ofthe United States.

~     Assessment: $100.00.



~   No fine                D Forfeiture pursuant to order filed                                       , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notity the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                    September 24.2015
                                                                    Date ofimposition of Sentence      .:2lJ
                                                                                      C4m
                                                                   HON. DANA M. SABRA W
                                                                   UNITED STATES DISTRICT JUDGE



                                                                                                                  15CR0880-DMS
       Case 3:15-cr-00880-DMS            Document 88       Filed 09/24/15       PageID.362       Page 2 of 4
AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

DEFENDANT:                ZACHARY CACHUPE (I)                                                     Judgment - Page 2 of 4
CASE NUMBER:              15CR0880-DMS


                                                 IMPRISONMENT
 The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of:
 FORTY-SIX (46) MONTHS.




 o     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 IZI   The court makes the following recommendations to the Bureau of Prisons:
       Defendant participate in the RDAP program.
       Defendant be designated to Terminal Island.




 o     The defendant is remanded to the custody of the United States Marshal.

 o     The defendant shall surrender to the United States Marshal for this district:
       o     at _ _ _ _ _ _ _ A.M.                            on ______________________________________

       o     as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 o     Prisons:
       o     on or before
       o     as notified by the United States Marshal.
       o     as notified by the Probation or Pretrial Services Office.

                                                       RETURN

 I have executed this judgment as follows:

       Defendant delivered on   _________________________ to _______________________________

 at _______________________ , with a certified copy of this judgment.


                                                                UNITED STATES MARSHAL



                                    By                     DEPUTY UNITED STATES MARSHAL


                                                                                                     15CR0880-DMS
              Case 3:15-cr-00880-DMS                   Document 88             Filed 09/24/15            PageID.363            Page 3 of 4
    AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

    DEFENDANT:                    ZACHARY CACHUPE (I)                                                                          Judgment - Page 3 of 4
    CASE NUMBER:                  l5CR0880-DMS


                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
FIVE (5) YEARS.



     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody ofthe Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refhin from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
          substance abuse. (Check, ifapplicable.)
          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
          The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
          Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
o         seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
          resides, works, is a student, or was convicted ofa qualifying offense. (Check if applicable.)
o         The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

          If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
     such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
     Payments set forth in this judgment.
         The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
     with any special conditions imposed.
                                         STANDARD CONDITIONS OF SUPERVISION
     1)  the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions ofthe probation officer;
     4)  the defendant shall support his or her dependents and meet other family responsibilities;
     5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
         reasons;
     6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, lise, distribute, or administer any controlled substance or
         any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted ofa felony,
         unless granted permission to do so by the probation officer;
     10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
         observed in plain view of the probation officer;
     11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
     12) the defendant shall not enter into any agreement to act as an informer or a special agent ofa law enforcement agency without the permission of
         the court; and
     13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
         personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
         with such notification requirement.



                                                                                                                                   15CR0880-DMS
      Case 3:15-cr-00880-DMS             Document 88         Filed 09/24/15       PageID.364        Page 4 of 4

AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:              ZACHARY CACHUPE (I)                                                         Judgment - Page 4 of 4
CASE NUMBER:            15CR0880-DMS

                                 SPECIAL CONDITIONS OF SUPERVISION

I.     Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and
       counseling, as directed by the probation officer. Allow for reciprocal release of information between the probation
       officer and the treatment provider. May be required to contribute to the costs of services rendered in an amount to
       be determined by the probation officer, based on ability to pay.

2.     Pmticipate in a program of mental health treatment as directed by the probation officer, take all medications as
       prescribed by a psychiatrist/physician, and not discontinue any medication without permission. The court
       authorizes the release of the presentence report and available psychological evaluations to the mental health
       provider, as approved by the probation officer. Allow for reciprocal release of information between the probation
       officer and the treatment provider. May be required to contribute to the costs of services rendered in an amount to
       be determined by the probation officer, based on ability to pay.

3.     Report vehicles owned or operated, or in which you have an interest, to the probation officer.

4.     Provide complete disclosure of personal and business financial records to the probation officer as requested.

5.     Reside in a residence approved in advance by the probation officer, and any changes in residence shall be
       preapproved by the probation officer.

6.     Submit your person, propelty, house, residence, vehicle, papers, computer, social media accounts, electronic
       communications 01' data storage devices or media, and effects to search at any time, with or without a warrant, by
       any law enforcement or probation officer with reasonable suspicion concerning a violation of a condition of
       probation/supervised release or unlawful conduct, and otherwise in the lawful discharge of the officer's duties. 18
       U.S.C. 3563(b)(23) ; 3583(d)(3)

7.     Not use 01' possess devices which can communicate data via modem or dedicated connection and may not have
       access to the Internet without prior approval from the court or the probation officer. The offender shall consent to
       the installation of systems that will enable the probation officer to monitor computer use on any computer owned
       or controlled by the offender. The offender shall pay for the cost of installation of the computer software.

8.     Not associate with known prostitutes or pimps and/or loiter in areas known to be frequented by those engaged in
       prostitution, unless in an approved treatment setting.

9.    Not have any contact, direct 01' indirect, either telephonically, visually, verbally or through written material, or
      through any third-party communication, with the victim or victim's family, without approval of the probation
      officer.

10.    Seek and maintain full time employment and/or schooling or a combination of both.




       AUSA REQUESTS:


                                                                                                        15CR0880-DMS
